Case 15-40462-vvva Doc 30 Filed 06/30/15 Page 1 of 5

BGF (Official Forrn 6F) (lZ/D‘T)

In re Alvion Properties, lnc.

Case No.

 

Debtor

AMEN])EI)

1 5-40462

SCHEDULE F - CREDI'I`ORS HOLDING UNSECURED NONPRIORITY CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, ll U.S.C. §112 and Fed, R. Bankr. P. ll)()'f(m). Do not
include claims listed in Schedules D and E. If all creditors will not fit on this page, usc the continuation sheet provided

lf any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
schedule of creditors, and complete Scheclule H - Codebtors. lf a joint petition is tiled, state whether the husband, wife, both of them, or the marital community may be
liable on each claim by placing an "H," "W," ".I," or "C" in the column labeled "Husband, Wife, Joint, or Community."

if the claim is contingent, place an "X" in the column labeled "Contingent." if the claim is unliquidated, place an "X" in the column labeled "Unliquidated." lf the
claim is disputed, piaee an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet ofthe completed schedule Report this total also on the Summary of
Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

13 Checl< this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CREDITOR|S NAI\A:E, g HUSband, VWfS` JOinf, Or CO|T|IT|Unily g H F
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’ B W CONSIDERATION FOR CLAIM. lF CLAIM l Q u
AND ACCOUNT NUMBER T J N u T AMOUNT OF CLAIM
. - 0 IS SUBJECT TO SETOFF, SO STATE. G l E
(See instructions above.) R c E D D
N A
Account No. Legal fees T §
D
Clancy Covert
PO Box 15307 - X X
Chattanooga, TN 37415
250,000.00
Account No. Geologica| services
~.___________,_______
Dana Petway
250 Sandersferry Rd Conc|o _2_§, '
Hendersonvi[le, TN 37075
10,000.00
Account No. Lega! fees
Darre|| Dunham
PO Box 803 - X _)!(__
Carbondale, IL 62903
10,000.00
Account No. Consulta nt
Jack Harper
400 S Granger ' L-' 2
Harrisburg, |L 62946 z §
20,000.00
. . Subtotal
2 contmuation sheets attached (Total Of this page) 290,000.00

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ln re Alvion Properties, |nc. Case No. 15-40462
Debtor
AMENDED
SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORI'I`Y CLAIMS
(Continuation Sheet)
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(See insaneth above_) g C IS SUBJ'ECT TO SETOFF, SO STATE. § 13 §
N A
Account No. Same debt as Richard Coffman Law Firm ? §
Joint judgment D
Jarnes R Creekmore $503:324-71
The Creekmore Laws Firm PC -
318 N Nlain St
Blacksburg, VA 24060
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Account No. Lega| fees
Keith Grant
633 Chestnut St Ste 700 - _)_('_ X_
Chattanooga, TN 37415 `
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Account No. Legal fees
Richard Coffman Law Firm
505 Orleans St Ste 505 X - X _
Beaumont, TX 77704 "'_
603,324.71
Account No. L.egal fees
Robinson Srnith and We|ls
633 Chestnut St Ste 700 -
Chattanooga, TN 3741 5
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Account No. Engineer services
....__.----""'*‘__'-r
Ron Pickering
214 Estate Dr - X l(_`
New Iberia, l.A 70563 ""
100,000.00
Sheet no. 1 of 2 sheets attached to Schedule of Subtotal 753 527 96
Creditors Holding Unsecured Nonpriority Claims (Totai of this page) ’ `

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Best Case Bankruptcy

 

 

 

 

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In re Alvion Properties, |nc. Case No. 15-40462
Debtor j
AMENDED
SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
(Continuation Sheet)
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A?SZ;§§£E§;STYOMV§§R § § is sUBJECT To sETOFF, so STATE. § § § AMOUNT OF CLAIM
N A
AccountNo. Same debt as Richard Coffman Law Firm T §
Joint judgment D
Ted D Karr $603,324.7‘1
Berkeley Law Tecbno|ogy Grp LLP '
17933 NW Evergreen Prky Ste 250
Beaverton, OR 97006
0.00
Account No. Sarne debt as Richard Coffman Law Firm
Joint judgment
Wyatt B Durrette Jr $603,324.71
DurretteCrump PLC '
1111 East Main St
Richmond, VA 23219
0.00
Account No.
Account No.
Account No.
Sheet no. 2 of 2 sheets attached to Schedule of Subtotal 0 00
Creclitors Holding Unsecured Nonpriority Claims (Total of this page) ' .
Total
1,043,527.96

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CReport on Summary of Schedules)

 

 

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United States B'a'nkrnptcy Court
Southern District of Illino`is

rare -Alvion Propernes,ine. CaseNo- 1`5-40462

 

 

Debtor(s) Chapter 1 1

 

AMENDED
DECLARATION CONCERNING ])E'BTOR'S SCHEDULES

DECLARATION UNDER PENALTY OF PERJURY`ON BEHALF OF C'ORP:ORATION OR PARTNERSHIP

I, the President ofthe corporation named as the debtor in this case, declare under penalty of perjury thatl
have read the foregoing document(s)', consisting of 3 page(s'), and that they are true and correct to the best ofmy
knowledge infonnation, and belief

Date pg /5?7 //( Signatur€<`>%b¢&a/` DQ)/ LL¢)H?_J~Z¢€Y
/ /7§11irley Karne§dvle_dley

President

Penol!yfor making afa/se statement or concealing property Fin'e_ of up to $500,000 or imprisonment for\up to 5 years or both.
18 U.S.C. §§ 152 and 3571.

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CERTIF|CATE OF SERV|CE

The undersigned certifies that a copy of the foregoing instrument was served upon:

Mark Skaggs

U S Trustees Office

401 Main Street, Suite 1100
Peoria, |L 61602

Ziemer, Staymen, Weitze| & Shou|ders, LLP
Attn: Nick J. Cirignano

P.O. Box 916

Evansviiie, iN 47706-0916

The Coffman Law Firm
505 Or|eans, Suite 505
Beaumont, TX 77701

Dana Petway
250 Sandersferry Rd Condo 29
Hendersonvil|e, '¥'N 37075

Darrell Dunham
PO Box 803
Carbondale, EL 62903

Jaci< Harper
400 S Granger
Harrisburg, |L 62946

Keith Grant
633 Chestnut St Ste 700
Chattanooga, TN 37415

Ron Pici<ering
214 Estate Dr
Ne\t\t'iberia7 LA 70563

A|vion Properties, |nc.
22 S. |V|ain St.
Harrisburg, |L 62946

either eiectronica|iy or by enclosing in an envelope With postage fully prepaid and by depositing said

envelope in a U. S. Post Office mail box in Nit. Vernon, iiiinois, on the 30

day of Junel 2015. The above

is true and correct to the best of the undersigned's knowiedge.

Antonik Law Office
3405 Broadway

PO Box 594

Nlt. Vernon, iL 62864
Pn: (618) 244-5739
Fax: (618) 244-9633
antonik|aw@charter.net

/s/ Nanc E Antcnik
Nanoy E Antonik

